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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
          v.                                  )
                                              )       Criminal No. 19-cr-00374-8 (RDM)
THAYNE WHIPPLE,                               )
                                              )
          Defendant.                          )
                                              )

                                    JOINT STATUS REPORT

          Pursuant to the Court’s July 16, 2020 Minute Order, Defendant Thayne Whipple and the

United States, by and through their undersigned counsel, provide the following Joint Status

Report.

          On April 17, 2020, Mr. Whipple filed a Motion for a Bill of Particulars. See ECF 53.

The government filed its Response to Mr. Whipple’s motion on May 1, 2020. See ECF 55.

During the June 15, 2020 Telephonic Status Conference in this matter, the Court ordered that Mr.

Whipple “shall file a reply to his Motion for a Bill of Particulars, or shall meet and confer with

the Government, and file a Joint Status Report by 7/6/2020.” See June 15, 2020 Minute Order.

On June 30, Mr. Whipple filed an unopposed motion for an extension of time to file a Joint

Status Report and/or Reply in Support of his Motion for a Bill of Particulars, until July 20, 2020.

See ECF 61. On July 1, 2020, the Court granted Mr. Whipple’s motion, and ordered that Mr.

Whipple “shall file a reply in support of his motion for a bill of particulars on or before July 20,

2020, unless the parties elect to file a joint status report instead.” See July 1, 2020 Minute Order.

On July 15, 2020, the parties filed a joint status report, requesting the Court hold Mr. Whipple’s




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Motion for a Bill of Particulars in abeyance, while the parties continued to work towards a

possible resolution of the issues.

       The parties have met and conferred, and continue to work together to identify particular

items that will satisfy the requests set forth in Mr. Whipple’s Motion for a Bill of Particulars.

The parties respectfully request that the Court permit Mr. Whipple to file a Reply in support of

his Motion for a Bill of Particulars by September 25, 2020, which will give the parties an

opportunity to complete their meet and confer process, and will allow Mr. Whipple to narrow the

issues before the Court in his Reply.

                                            Respectfully submitted,



                                                   /s/ Steven J. McCool
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                           COREY R. AMUNDSON
                           Chief, Public Integrity Section
                           Criminal Division
                           U.S. Department of Justice

                     By:   /s/ Michael J. Romano
                           Michael J. Romano
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                           U.S. Department of Justice




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of August 2020, the foregoing was served

electronically on the counsel of record through the U.S. District Court for the District of

Columbia Electronic Document Filing System (ECF) and the document is available on the ECF

system.




                                                    /s/ Steven J. McCool
                                                 STEVEN J. McCOOL




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